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                          UN ITE D STA TE S D ISTR IC T COUR T
                          SOU THERN D ISTR IC T OF FL OR IDA
                  CASE NO . 18-14244-CIV-MAQTINEZ/MAYNARD
  PAM ELA B . STUAR T ,

         Plaintiff ,                                             FILED ùy         - n.C,

                                                                    kUC
                                                                      J 1d .
                                                                           %
                                                                           It'P
  CATHERINE S . RYAN , et al .,                                   sS TEVEN M LARIMQRE
                                                                    cuR  :ui.Dls:cT
                                                                   .D.QFnA -F:RERkE
         Defendants .
                                                     /
      AM MND ED ORD ER ON PLA IN T IF F 'S MO TION FOR PERM ISS ION TO F ILE
                              ELECTRONICALLY (DE 16)
                                          and
                       ORDER VACATING PRIOR ORDER (DE 30)
         THIS CAUSE comes before this Court upon                 above Motion in

  which she asks for permission to file documents                   this case

  using the CM/ECF system .           is hereby,
         ORDERED AND ADJUDGED that this Court's prior Orderr found

  at DE 30,             Plaintiff's Motion           Permission to File

  Electronically (DE 16) is VACATED. This Court replaces that

  Order with the instant Order .                 further,

         ORDERED AND AD JUDGED that             Plaintiff's Motion for

                                                (DE 16)     DENIED          the
  extent that the Plaintiff asks for permission to file documents

  electronically on the docket using the CM/ECF system . The

  Plaintiff does not satisfy the requirements for using CM/ECF
  that        The Plaintiff shall comply with                conventional

  filing requirements and a11 other procedural requ irem ents . ' The
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  Plaintiff shall ensure that           Clerk of Court receives

  filings in time to docket them by applicable filing deadlines .

             further,

        ORDERED AND ADJUDGED that to the extent            Plaintiff asks

  for permission to receive NEF'S, her request is m oot . The

  Plaintiff already is receiving NEF's. Moreover , because this

  Court             able    confirm that she is receiving NEF's,

  Court will not mail her hard paper copies of rulings               her

  mailing address from this point forward . This Court will rely

  only on NEF'S for that purpose . The Plaintiff shall make sure to

  monitor          email address where she receives NEF'S and to

  monitor the PACER system .             lastly,

        ORDERED AND ADJUDGED that this Court reminds the Plaintiff

  to refrain from contacting Chambers directly . See Local Rule

  and                   Filers Important Information'' brochure

   (available on the Court's website). The Plaintiff shall raise
  a11 requests for relief                                                  of

  Court for docketing .
                             j'
        DONE AND ORDERED in chambers at Fort Pierce , Florida,

    XkYYWday ofAugust, 2018.
        %

                                                    Ahk         :-!k
                                  SHA N IEK M . MA YNA RD
                                  UNITED STATES MAGISTRATE JUDGE

            Counsel of Record (via CM/ECF NEF)
            Pamela B . Stuart , pro se (via CM/ECF NEF)
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